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                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

CAYMAN SECURITIES CLEARING
AND TRADING LTD; THE HURRY                                 Case No. 8:18-cv-02869-VMC-CPT
FAMILY REVOCABLE TRUST;
SCOTTSDALE CAPITAL ADVISORS
CORPORATION; and ALPINE SECURITIES
CORPORATION,

       Plaintiffs,

v.

CHRISTOPHER FRANKEL,

       Defendant.
                                                       /

              PLAINTIFFS’ MOTION TO COMPEL RESPONSES TO
        INTERROGATORIES FROM DEFENDANT CHRISTOPHER FRANKEL

       Plaintiffs, Cayman Securities Clearing and Trading LTD, The Hurry Family Revocable

Trust, Scottsdale Capital Advisors Corporation, and Alpine Securities Corporation (collectively

the “Hurry Parties”), by counsel and pursuant to Local Rule 3.01 and Rule 37 of the Federal

Rules of Civil Procedure, move to compel amended interrogatory responses from Defendant,

Christopher Frankel (“Frankel” or “Defendant”). The grounds upon which this motion is based

and reasons it should be granted are as follows:

                                        BACKGROUND

       This action arises from Defendant’s unlawful use of confidential information

obtained from the Hurry Parties to destroy their businesses, abscond with their clients, and

unfairly compete with the Hurry Parties. See First Amended Complaint (“FAC”), ¶ 1.

       On January 15, 2019, the Hurry Parties served their First Set of Interrogatories upon

Defendant.    On February 14, 2019, Defendant served his Responses to the First Set of

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Interrogatories. Defendant objected and refused to provide full and complete responses to

Interrogatories Nos. 2, 3, 4, and 7.

       As more specifically set forth below, Defendant’s responses to Interrogatories Nos. 2, 3,

4, and 7 were insufficient under Rule 33 of the Federal Rules of Civil Procedure and the Middle

District Handbook on Civil Discovery Practice. On February 27, 2019, the Hurry Parties sent a

good faith demand to Defendant regarding these insufficiencies. On March 7, 2019, the Hurry

Parties’ counsel and counsel for Defendant had a telephone conference to address Defendant’s

deficient discovery responses. Despite the Hurry Parties’ effort to resolve the deficiencies,

Defendant elected not to amend any of his responses to the First Set of Interrogatories.

                                          ARGUMENT

       The scope of discovery permitted under Rule 26(b) of the Federal Rules of Civil

Procedure is exceedingly broad: “Parties may obtain discovery regarding any nonprivileged

matter that is relevant to any party’s claim or defense . . . .” Fed. R. Civ. P. 26(b)(1); McBride v.

Rivers, 170 Fed. Appx. 648, 659 (11th Cir. 2006) (the scope of allowable discovery is

determined by the claims and defenses raised in the case). “Information within this scope of

discovery need not be admissible in evidence to be discoverable.” Id.

       The party resisting discovery carries the burden to show why the requested discovery

should not be permitted. See McLane v. Ethicon Endo-Surgery, Inc., No. No. 3:12-cv-406-J-

99MMH-TEM, 2013 WL 5556147, *2 (M.D. Fla. Oct. 8, 2013). “The burden on the resisting

party is to specifically show how the objected-to request is unreasonable, irrelevant, or otherwise

unduly burdensome.” Id

       The four interrogatories at issue here concern specific, concrete allegations contained

within the operative complaint. Defendant’s objections and refusal to fully and completely



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respond to Interrogatories Nos. 2, 3, 4, and 7 have and are impeding the Hurry Parties’ ability to

obtain information regarding nonprivileged matters that are relevant Plaintiffs’ claims per

Federal Rule of Civil Procedure, Rule 26(b)(1)).          See Fed. R. Civ. Proc. 33(b)(3) (“Each

interrogatory must, to the extent it is not objected to, be answered separately and fully in writing

under oath.”) (Emphasis added.) “For the purposes of the Federal Rules of Civil Procedure,

incomplete or evasive interrogatory answers are treated as a failure to answer.” Lockwood v.

Shands Jacksonville Med. Ctr. Inc., No. 3:09-CV-376-J-20MCR, 2010 WL 2035117, at *2

(M.D. Fla. May 21, 2010) (citing Dollar v. Long Mfg., N. C., Inc., 561 F.2d 613, 616 (5th Cir.

1977)).

          In addition, Defendant’s objection on the basis of confidentiality is not a valid objection.

See McKellips v. Kumho Tire Co., 305 F.R.D. 655, 661 (D. Kan. 2015) (“A concern for

protecting confidentiality does not equate to privilege. While a confidentiality objection may be

appropriate when a party seeks a protective order limiting the parties' use or disclosure of

confidential information, it generally is not a valid objection for withholding discovery

altogether.”); see also Palaniappan v. Norton Health Sound Corp., No. 3:10-CV-00175-TMB,

2012 WL 13032959, at *3 (D. Alaska Mar. 7, 2012) (“absent a motion for a protective order,

confidentiality is not a valid objection to discovery requests”); Walt Disney Co. v. DeFabiis, 168

F.R.D. 281, 283 (C.D. Cal. 1996) (“only privilege, not confidentiality, is a valid objection under

Fed.R.Civ.P. 26(b)”).

          Moreover, the Hurry Parties already submitted to Defendant a draft Confidentiality

Agreement that would allow Defendant to designate his responses as “Confidential” and limit

their use “solely for purposes of the prosecution or defense of this Litigation, including any

appeals or retrials, and not in connection with any other litigation or judicial or regulatory



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proceeding or for any business, commercial, competitive, personal, or other purpose

whatsoever.” See Real Estate Indus. Sols., LLC v. Concepts in Data Mgmt. U.S., Inc., No. 6:10-

CV-1045-ORL-GJK, 2012 WL 12903171, at *6 (M.D. Fla. Jan. 30, 2012) (in ruling on motion to

compel, Court ordered a party to produce responsive confidential documents pursuant to the

parties’ confidentiality agreement).

A.     Defendant’s Objections Should Be Overruled

       For the following reasons, Defendant’s objections to Interrogatories No. 2, 3, 4 and 7 are

improper and legally insufficient, and he should be compelled to provide full and complete

answers:

       Interrogatory No. 2: Identify [defined therein to mean “state the full name,
       present or last known residential and business address and phone number(s), and
       such person’s relationship, if any, to you”] all current or former clients of
       Plaintiffs with whom you have communicated since August 1, 2018.

       Defendant’s Answer: I recall that the following persons and entities, who have
       done business with one or more of the plaintiffs, have contacted and
       communicated with me since August 1, 2018:

       a.      Kurt Kramer – Power Up Lending and Asher Enterprises;
       b.      Bryan Collins / Sam O’Shana – Silverback and Rockwell Capital;
       c.      Coby Neuenschwander / John Fife – Chicago Venture;
       d.      Adam Long – L2 Capital;
       e.      Al Sollami – Auctus;
       f.      Vince Searra – EROP;
       g.      Steve Hicks – Livingston and Southridge;
       h.      Chip Cleland / Paul Winkle / Nick Solerno – Continuation Capital; and
       i.      Felicia – EMA.

       I knew and had prior business relationships with the underlined individuals and
       entities before my association with Alpine. Many of the foregoing individuals and
       entities, including EROP/Searra and EMA/Felicia, initiated contact with me after
       my employment with Alpine ceased.

       Reasons to Compel Complete Response: Defendant’s Answer is incomplete. “A party

is entitled to the facts relevant to the litigation. The discovery process is designed to fully inform

the parties of the relevant facts involved in their case.” Wright v. Logan, No.

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608CV1538ORL35GJK, 2010 WL 11507091, at *2 (M.D. Fla. Apr. 14, 2010) (internal quotes

and cites omitted). Per the definitions included with the Interrogatories, Defendant was required

to provide “the full name, present or last known residential and business address and phone

number(s), and such person’s relationship, if any, to you” for each person identified in his

Answer. Defendant failed to do so, making it impossible for the Hurry Parties to follow up on the

Interrogatory or otherwise obtain information regarding nonprivileged matters that are relevant

their claims (Fed. R. Civ. Proc., Rule 26(b)(1)).

       Defendant should be compelled to provide a full and complete response that includes the

full name, present or last known residential and business address and phone number(s), and such

person’s relationship, if any, to Defendant. See Sprint Sols., Inc. v. 4 U Cell, LLC, No. 2:15-CV-

605-FTM-38CM, 2016 WL 4815101, at *6 (M.D. Fla. Sept. 14, 2016) (compelling responding

party to provide “full and complete response to interrogatory” that requested a “detailed

description” of certain activity).

       Interrogatory No. 3: Identify [defined therein to mean “state the current name
       for the entity, its principal office address and telephone number and the name of
       the person with whom most of the communications with such entity are made or
       the name of the person whom the party responding to the interrogatory believes
       would have personal knowledge regarding the information sought in the
       interrogatory”] all financial institutions that currently have or previously had
       relationships with Plaintiffs with whom you have communicated since August 1,
       2018.

       Defendant’s Answer: I recall communicating with the following financial
       institutions, since August 1, 2018, which have had relationships with one or more
       of the plaintiffs:
       a.      Lakeside Bank; and
       b.      Servis1st Bank.
       Communications did not concern plaintiffs’ confidential information.




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       Reasons to Compel Complete Response: Defendant’s Answer is incomplete. “A party

is entitled to the facts relevant to the litigation. The discovery process is designed to fully inform

the parties of the relevant facts involved in their case.” Wright, 2010 WL 11507091, at *2.

       Per the definitions included with the Interrogatories, Defendant was required to provide

“the current name for the entity, its principal office address and telephone number and the name

of the person with whom most of the communications with such entity are made or the name of

the person whom the party responding to the interrogatory believes would have personal

knowledge regarding the information sought in the interrogatory.” Defendant failed to do so,

making it impossible for the Hurry Parties to follow up on the Interrogatory or otherwise obtain

information regarding nonprivileged matters that are relevant their claims (Fed. R. Civ. Proc.,

Rule 26(b)(1)).

       Defendant should be compelled to provide a full and complete response that includes the

current name for each entity, its principal office address and telephone number, and the name of

the person with whom most of the communications with such entity are made or the name of the

person whom Defendant believes would have personal knowledge regarding the information

sought in the interrogatory. See Sprint Sols., Inc, 2016 WL 4815101, at *6.

       Interrogatory No. 4: Identify all broker-dealers that you have contemplated
       purchasing, whether directly, indirectly, in whole or in part, since August 1, 2018.

       Defendant’s Objections: Objection: The identity of any broker-dealers which
       Chris Frankel has contemplated purchasing is proprietary and confidential. Chris
       Frankel has used no confidential information of the plaintiffs in contemplating the
       purchase of any broker dealer. Chris Frankel knew and knows of no broker-dealer
       which the plaintiffs have contemplated purchasing before, during, or after Chris
       Frankel’s employment and consultant relationship with Alpine. The plaintiffs
       have no non-competition or non-solicitation agreement with Frankel. Frankel has
       been free to contemplate purchasing, or to purchase, any broker-dealer he wishes,
       provided he did not use the plaintiffs’ confidential information to do so, and he
       did not.



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       Reasons to Overrule Objections: Defendant’s objection on the basis of confidentiality

is improper. See McKellips, 305 F.R.D. at 661.           The Hurry Parties already submitted to

Defendant a draft Confidentiality Agreement that would allow Defendant to designate his

responses as “Confidential” and limit their use “solely for purposes of the prosecution or defense

of this Litigation, including any appeals or retrials, and not in connection with any other

litigation or judicial or regulatory proceeding or for any business, commercial, competitive,

personal, or other purpose whatsoever.” See Real Estate Indus, 2012 WL 12903171, at *6.

       Interrogatory No. 7: Identify [defined therein to mean “the date of the
       communication or meeting, the identity of all parties to the communication or
       meeting, the subject matter of the communication or meeting and general
       substance of the communication or meeting”] the date, time, place, and a
       summary of all oral communications between you and Jim Kelly since August 1,
       2018.

       Defendant’s Answer: I recall speaking with Jim Kelly once after August 1,
       2018, to ask his opinion regarding the value of a broker-dealer which I was
       contemplating purchasing.

       Reasons to Compel Complete Response: Defendant’s response is incomplete because

it fails to identify the broker-dealer discussed, making it impossible for the Hurry Parties to

follow up on the Interrogatory or otherwise obtain information regarding nonprivileged matters

that are relevant to their claims (Fed. R. Civ. Proc., Rule 26(b)(1)). “A party is entitled to the

facts relevant to the litigation. The discovery process is designed to fully inform the parties of the

relevant facts involved in their case.” Wright, 2010 WL 11507091, at *2.

       Defendant should be compelled to provide a full and complete response that identifies the

broker-dealer Defendant discussed with Jim Kelly. See Sprint Sols., Inc. v. 4 U Cell, LLC, No.

2:15-CV-605-FTM-38CM, 2016 WL 4815101, at *6.




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B.      Request for Attorneys’ Fees and Costs

        In granting a motion to compel, a court may require the party whose conduct necessitated

the motion to pay the moving party’s reasonable expenses, including attorneys’ fees. See Fed. R.

Civ. P. 37(a)(5). “A court must impose attorney’s fees and expenses when compelling discovery

unless the party was substantially justified in resisting discovery.”      Maddow v. Procter &

Gamble Co., Inc., 107 F.3d 846, 853 (11th Cir. 1997) (emphasis added). “Substantially justified

means that reasonable people could differ as to the appropriateness of the contested action.” Id.

(citing Pierce v. Underwood, 487 U.S. 552, 565 (1988)).

        Defendant’s incomplete answers and improper objections are not “substantially justified.”

Based on the explicit language of the Federal Rules of Civil Procedure and applicable decisional

law, reasonable people could not differ on the insufficiency of Defendant’s answers and

objections. Consequently, Defendant should be required to pay the Hurry Parties’ attorneys’

fees.

                                         CONCLUSION

        WHEREFORE, the Hurry Parties respectfully requests that the Court enter an Order:

(a) overruling Defendants’ objection to Interrogatory No. 7; (b) compelling Defendant to serve

full and complete responses to Interrogatories No. 2, 3, 4, and 7 within 14 days of such Order;

(c) award Plaintiffs their attorneys’ fees and costs under Rule 37(b); and (d) granting any such

further relief as the Court deems appropriate.

               RULES 37(a)(1) and 3.01(g) CERTIFICATION OF COUNSEL

        Pursuant to Rule 37(a)(1), Federal Rules of Civil Procedure, and Rule 3.01(g), Local

Rules for the Middle District of Florida, Plaintiffs conferred with Defendant in a good faith effort

to resolve this discovery dispute. However, the parties were unable to reach a resolution



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Dated this 26th day of March 2019.          Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on March 26, 2019, the foregoing document was filed with
the Court’s CM/ECF system, which will send electronic notice to all counsel of record.
                                            /s/ Shane B. Vogt
                                            Attorney




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